      Case 19-14142     Doc 275   Filed 02/23/24 Entered 02/23/24 10:16:15   Desc Main
                                    Document Page 1 of 1

             PDF FILE WITH AUDIO FILE ATTACHMENT

Case Type:   bk
Case Number: 19-14142
Case Title:  Brian W. Coughlin
Case Matter: Hybrid Hearing on #232 Debtor's Motion to Further Extend Discovery
             Deadlines (Richard N. Gottlieb)
             #241 Objection of LDF Business Development Corporation, LDF Holdings,
             LLC, Lac du Flambeau Bank of Lake Superior Chippewa Indians and
             Niiwin, LLC (Adrienne Walker, Hanna Redd, Patrick McAndrews, Emily
             Reed, Alexandrah Walker, Zachary RG Fairlie and Andrew Adams III).



Audio Date/Time: 02/23/2024 10:16:04
Audio File Name: 19-14142.mp3
Audio File Size: 17759.06 kb
Audio Run Time: 00:00:2273



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